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                                                                                   FRTI) 5. MARIffiAM, MD
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                                                                                          fsmarkham@smdmd.com         w
To Whom It May Concern:                                           3-8-19

Re: Michael G Lacey

I have cared for Mr. Lacey since 2010. Given his personal and family history of premature
coronary artery disease I have always encouraged him in aerobic exercise. The only exercise
that he seems to enjoy and would participate in on a regular basis has been swimming. I would
like to see him get back to his regular regimen of swimming to reduce his risk for symptomatic
heart disease and to lose weight. Thank you for your consideration.

Sincerely,

                Fred S Markham M.D.




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                                                                                  SignatureMD Aff iliated Physician
